EXHIBIT 41
                 The Defendant’s Additional Narcotics Distribution Conduct

       Each of the emails below come from a search warrant on the Mexico-based distributor’s

email account, from April 4, 2017, through April 11, 2017.

       On April 4, 2017, at 7:22 a.m., using his encrypted overseas email account at the

Anonymous Speech domain, the defendant ordered 200 Tramadol for $365 from the Mexico-based

distributor, to be shipped to the defendant’s home in Currituck, North Carolina: 1




       On April 5, 2017, at 11:03 p.m., the Mexico-based distributor sent the defendant the UPS

tracking number for the package that was supposed to contain 200 Tramadol:




       On April 7, at 12:59 p.m., Individual A—the individual in California to whom the

defendant would later distribute oxycodone—ordered 10 oxycodone (“op 80” or Opana 80mg) for

$520 from the Mexico-based distributor.




1
 According to Google location data obtained pursuant to search warrant, the defendant logged into
his Anonymous Speech account from his home in Silver Spring, Maryland, on the morning of
April 4, 2017, at 5:36 a.m.
       On April 7, 2017, at 7:45 p.m., the defendant wrote Distributor 1 that the defendant

received the package, but the package did not contain Tramadol: 2




       On April 7, 2017, at 8:22 p.m., the defendant wrote Distributor 1 that the pills were

oxycodone: 3




       Six minutes later, on April 7, 2017, at 8:28 p.m., Distributor 1 responded, asking for the

defendant’s help:




2
 According to Google location data obtained pursuant to search warrant, the defendant logged into
his Anonymous Speech account from his home                        in Currituck, North Carolina, on
April 7, 2017, at 7:38 p.m., just minutes before sending this email.
3
 According to the defendant’s Google search history obtained pursuant to search warrant, on April
7, 2017, at 8:04 p.m., the defendant searched for “opana.” And at 8:14 p.m., the defendant searched
for “oxycodone 80mg” and then visited a website titled “Snorting -- 80 mg Oxycodone | Drugs-
Forum.” These searches were performed just minutes before the defendant sent this email telling
                  what the pills were.
       Nine minutes later, on April 7, 2017, at 8:37 p.m., Distributor 1 again responded to the

defendant, offering additional Tramadol in exchange for the defendant mailing the oxycodone—

i.e., distributing narcotics—to Individual A:




       Two minutes later, on April 7, 2017, at 8:39 p.m., the defendant responded to Distributor

1’s 8:28 p.m. email, agreeing to help:




       Ten minutes later, on April 7, 2017, at 8:49 p.m., the defendant responded to Distributor

1’s 8:37 p.m. email, agreeing to send the oxycodone to Individual A:
       According to the defendant’s Google search history obtained pursuant to search warrant,

on April 7, 2017, at 9:27 p.m., the defendant searched for “ups store chesapeake va.”

       On April 7, 2017, at 9:43 p.m., Distributor 1 responded to the defendant:




       Shortly thereafter, on April 7, 2017, at 11:57 p.m., Individual A wrote Distributor 1, asking

for the tracking number for his shipment of oxycodone:




       Distributor 1 responded to Individual A one minute later:




       On April 8, 2017, at 3:51 a.m., Individual A wrote to Distributor 1, asking for the tracking

number:
       According to the defendant’s Google search history obtained pursuant to search warrant,

on April 8, 2017, at 7:46 a.m., the defendant searched for “ups next day air.” And at 7:53 a.m.,

the defendant searched for “does ups next day air deliver on sunday.”

       On April 8, 2017, at 11:29 a.m., Individual A wrote Distributor 1, asking again for the

tracking number for the package containing his oxycodone:




       Ten minutes later, on April 8, 2017, at 11:39 a.m., the defendant sent the tracking number

to Distributor 1, explaining that the oxycodone would arrive at Individual A’s address on Monday

(April 10, 2017) and that the defendant had been unable to get Sunday delivery (for April 9, 2017).

The defendant also asked for the Tramadol to be sent “as soon as you can”:




       One minute later, on April 8, 2017, at 11:40 a.m., Distributor 1 thanked the defendant for

his assistance:
       Minutes later, on April 8, 2017, at 11:47 a.m., Distributor 1 sent to Individual A the same

tracking number for the package containing oxycodone that the defendant sent to Individual A:




       On April 8, 2017, at 12:18 p.m., the defendant wrote Distributor 1, asking for the tracking

number for his Tramadol shipment and confirming his shipping address in Currituck, North

Carolina:
       Nine minutes later, on April 8, 2017, at 12:27 p.m., Distributor 1 thanked the defendant.

On April 9, 2017, at 8:33 a.m., the defendant wrote Distributor 1, asking if the Tramadol would be

shipped the following day: 4




       A few hours later, on April 9, 2017, at 11:32 a.m., Distributor 1 confirmed that he would

be shipping 300 Tramadol the following day:




       On April 10, 2017, at 8:16 p.m., Distributor 1 sent the defendant the UPS tracking number

for the shipment containing 300 Tramadol:




4
 According to Google location data obtained pursuant to search warrant, the defendant logged into
his Anonymous Speech account from his home                        in Currituck, North Carolina, on
April 9, 2017, at 7:37 a.m., roughly one hour before sending this email.
       According to the defendant’s Google search history obtained pursuant to search warrant,

on April 10, 2017, at 9:13 p.m., the defendant logged into his Anonymous Speech account from

his home in Silver Spring, Maryland. Four minutes later, the defendant searched for “ups

tracking.”

       On April 11, 2017, at 3:12 p.m, the defendant responded to Distributor 1: 5




       According to UPS records, the oxycodone package shipped by the defendant arrived at

Individual A’s residence in San Francisco, California, on April 10, 2017, at 10:17 a.m.:




5
 According to Google location data obtained pursuant to search warrant, the defendant logged into
his Anonymous Speech account from his home in Currituck, North Carolina, on April 11, 2017,
at 3:05 p.m., just minutes before sending this email.
       Consistent with the defendant’s Google searches discussed above, the package was

shipped, according to UPS records, from The UPS Store                                 Chesapeake,

Virginia:




       The emails, Google location history, Google searches, and UPS records clearly show that

the defendant distributed the oxycodone by shipping a package from The UPS Store in

Chesapeake, Virginia, on April 8, 2017. This fact is further confirmed by a number of ATM or

debit card transactions that place the defendant in very near proximity to the exact address of The

UPS Store in Chesapeake, Virginia, on the same day. For example, according to Capital One

records (embedded below), the defendant made a $39.73 purchase at Brixx Wood-Fired Pizza in

Chesapeake, Virginia, on April 8, 2017. A Google search shows that Brixx is in a shopping center

across the street from The UPS Store.




       In addition, according to USAA records (embedded below), the defendant made a $120

ATM withdrawal at PNC Bank branch #1172 in Chesapeake, Virginia, on April 8, 2017. A Google

search shows that PNC Bank branch #1172 is less than one mile from The UPS Store.
         Similarly, according to Navy Federal Credit Union records (embedded below), the

defendant made a $73.09 purchase at Kroger grocery store in Chesapeake, Virginia, on April 8,

2017. A Google search shows that Kroger is roughly one mile (as the crow flies) from The UPS

Store.
